Case 1:22-cv-11378-RGS   Document 237-3   Filed 03/27/24   Page 1 of 10




                   EXHIBIT 3
      Case 1:22-cv-11378-RGS              Document 237-3              Filed 03/27/24      Page 2 of 10




                     UNITED STATES PATENT AND TRADEMARK OFFICE
                          UNDER SECRETARY OF COMMERCE FOR INTELLECTUAL PROPERTY AND
                           DIRECTOR OF THE UNITED STATES PATENT AND TRADEMARK OFFICE




                                           MEMORANDUM
DATE:          June 21, 2022

TO:            Members of the Patent Trial and Appeal Board

FROM:          Katherine K. Vidal       K°'-\W\'fl, l/t!\ Vfda}_
               Under Secretary of Commerce for Inte~        l Prope11y and
               Director of the United States Patent and Tra e ark Office (USPTO or the Office)

SUBJECT:       INTERIM PROCEDURE FOR DISCRETIONARY DENIALS IN AIA POST-
               GRANT PROCEEDINGS WITH PARALLEL DISTRICT COURT
               LITIGATION

                                                Introduction

        Congress designed the America Invents Act (AIA) post-grant proceedings "to establish a

more efficient and streamlined patent system that will improve patent quality and limit

unnecessary and counterproductive litigation costs." H.R. Rep. No. 112-98, pt. 1, at 40 (2011),

2011 U.S.C.C.A.N. 67, 69; see S. Rep. No. 110-259, at 20 (2008). Parallel district com1 and

AIA proceedings involving the same parties and invalidity challenges can increase, rather than

limit, litigation costs. Based on the USPTO's experience with administering the AIA, the agency

has recognized the potential for inefficiency and gamesmanship in AIA proceedings, given the

existence of parallel proceedings between the Office and district com1s. To minimize potential

conflict between the Patent Trial and Appeal Board (PTAB) and district com1 proceedings, the

Office designated as precedential Apple Inc. v. Fintiv, Inc. 1 This precedential decision ai1iculates



1
 See Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 11 (PTAB Mar. 20, 2020) (designated
precedential May 5, 2020).


                         P.O. Box 1450, Alexandria, Virginia 22313-1450 - WWW.USPTO.GOV
      Case 1:22-cv-11378-RGS            Document 237-3          Filed 03/27/24      Page 3 of 10




the following set of nonexclusive factors (the Fintiv factors) that the PTAB considers on a case-

specific basis in determining whether to institute an AIA post-grant proceeding where there is

parallel district comt litigation:

          1. whether the comt granted a stay or evidence exists that one may be granted if a
             proceeding is instituted;
          2. proximity of the comt's trial date to the Board's projected statutory deadline for a
             final written decision;
          3. investment in the parallel proceeding by the comt and the patties;
          4. overlap between issues raised in the petition and in the parallel proceeding;
          5. whether the petitioner and the defendant in the parallel proceeding are the same
             party; and
          6. other circumstances that impact the Board's exercise of discretion, including the
             merits.
        The Office issued a Request for Comments (RFC) 2 on the PTAB's current approaches to

exercising discretion on whether to institute an AIA proceeding, including situations involving

parallel district court litigation. The Office received 822 comments from a wide range of

stakeholders. In light of the feedback received, the Office is planning to soon explore potential

rulemaking on proposed approaches through an Advanced Notice of Proposed Rulemaking. In

the meantime, I have determined that several clarifications need to be made to the PTAB's

current application of Fintiv to discretionary institution where there is parallel litigation.

       As explained below, to benefit the patent system and the public good, the PTAB will not

rely on the Fintiv factors to discretionarily deny institution in view of parallel district comt

litigation where a petition presents compelling evidence of unpatentability. This memorandum

also confirms that the precedential impmt of Fintiv is limited to facts of that case. Namely,

Fintiv involved institution of an AIA proceeding with a parallel district court litigation. The


2
 Discretion to Institute Trials Before the Patent Trial and Appeal Board, 85 FR 66502 (Oct. 20,
2020); Discretion to Institute Trials Before the Patent Trial and Appeal Board; Extension of
Comment Period, 85 FR 73437 (Nov. 18, 2020).


                                                   2
      Case 1:22-cv-11378-RGS             Document 237-3          Filed 03/27/24       Page 4 of 10




plain language of the Fintiv factors is directed to district comt litigation and does not apply to

parallel U.S. International Trade Commission (ITC) proceedings, as the ITC lacks authority to

invalidate a patent and the ITC's invalidity rulings are not binding on the Office or on district

comts.

         Consistent with Sotera Wireless, Inc.,3 the PTAB will not discretionarily deny institution

in view of parallel district court litigation where a petitioner presents a stipulation not to pursue

in a parallel proceeding the same grounds or any grounds that could have reasonably been raised

before the PTAB. Additionally, when considering the proximity of the district comt's trial date

to the date when the PTAB final written decision will be due, the PTAB will consider the median

time from filing to disposition of the civil trial for the district in which the parallel litigation

resides. 4 This memorandum clarifies those practices.

         This memorandum is issued under the Director's authority to issue binding agency

guidance to govern the PTAB's implementation of various statutory provisions, including

directions regarding how those statutory provisions will apply to sample fact patterns. See, e.g.,

35 U.S.C. 3(a)(2)(A); PTAB Standard Operating Procedure (SOP) 2 at 1-2.

                                                Analysis

         Compelling Merits

         In the AIA, Congress established post-grant proceedings, including IPR, PGR, and

covered business method (CBM) proceedings to improve and ensure patent quality by providing

"quick and cost-effective alternatives to litigation" for challenging issued patents. H.R. Rep. No.

112-98, pt. 1, at 48; see also S. Rep. No. 110-259, at 20 (explaining that the "post-grant review



3
  Sotera Wireless, Inc. v. Masimo Corp., IPR2020-01019, Paper 12 (PTAB Dec. 1, 2020)
(precedential as to§ II.A).
4 https://www.uscourts.gov/statistics-reports/analysis-reports/federal-court-management-statistics



                                                    3
      Case 1:22-cv-11378-RGS           Document 237-3          Filed 03/27/24      Page 5 of 10




system ... will give third parties a quick, inexpensive, and reliable alternative to district court

litigation to resolve questions of patent validity"). Congress granted the Office "significant

power to revisit and revise earlier patent grants" as a mechanism "to improve patent quality and

restore confidence in the presumption of validity that comes with issued patents." Cuozzo Speed

Techs., LLC v. Lee, 579 U.S. 261,272 (2016) (quoting H.R. Rep. No. 112-98, pt. 1, at 45, 48).

Given those objectives, compelling, meritorious challenges will be allowed to proceed at the

PTAB even where district court litigation is proceeding in parallel. Compelling, meritorious

challenges are those in which the evidence, if umebutted in trial, would plainly lead to a

conclusion that one or more claims are unpatentable by a preponderance of the evidence. That

said, the PTAB retains discretion to deny institution for proceedings where abuse has been

demonstrated.

       Fintiv factor six reflects that the PTAB considers the merits of a petitioner's challenge

when determining whether to institute a post-grant proceeding in view of parallel district court

litigation. Where the information presented at the institution stage is merely sufficient to meet

the statutory institution threshold,5 the PTAB has the authority, where warranted, to exercise

discretion to deny institution in view of the other Fintiv factors. In contrast, where the PTAB

determines that the information presented at the institution stage presents a compelling




5 Institution of an IPR is authorized by statute only when "the information presented in the

petition . .. and any response ... shows that there is a reasonable likelihood that the petitioner
would prevail with respect to at least 1 of the claims challenged in the petition." 35 U.S.C.
§ 314(a) (2018). Similarly, institution of a PGR, including a CBM, is authorized only when "the
information presented in the petition ... , if such information is not rebutted, would demonstrate
that it is more likely than not that at least 1 of the claims challenged in the petition is
unpatentable" Id. § 324(a).


                                                  4
      Case 1:22-cv-11378-RGS            Document 237-3         Filed 03/27/24       Page 6 of 10




unpatentability challenge, that determination alone demonstrates that the PTAB should not

discretionarily deny institution under Fintiv.6

        This clarification strikes a balance among the competing concerns of avoiding potentially

conflicting outcomes, avoiding overburdening patent owners, and strengthening the patent

system by eliminating patents that are not robust and reliable. Consistent with Congress's giving

the Office the authority to revisit issued patents, the PTAB will not deny institution based on

Fintiv if there is compelling evidence of unpatentability. This approach "allows the proceeding

to continue in the event that the parallel proceeding settles or fails to resolve the patentability

question presented in the PTAB proceeding." Fintiv, Paper 11 at 15. The patent system and the

public good benefit from instituting compelling unpatentability challenges.



       ITC and Fintiv

       In 2018, the PTAB issued a decision in NHK Spring. 7 There, the PTAB held that the

advanced state of a parallel district court litigation involving similar validity disputes could be a

factor weighing in favor of denying institution of an IPR because of concerns over the inefficient



6
  The compelling evidence test affirms the PTAB' s current approach of declining to deny
institution under Fintiv where the evidence of record so far in the case would plainly lead to a
conclusion that one or more claims are unpatentable. See, e.g., Illumina Inc. v. Trs. ofColumbia
Univ. , IPR2020-00988, Paper 20 (PTAB Dec. 8, 2020) (declining to deny under Fintiv in light of
strong evidence on the merits even though four factors weighed in favor of denial and remaining
factor was neutral); Synthego C01p. v. Agilent Techs., Inc., IPR2022-00402, Paper 11 (May 31,
2022) (granting institution as efficiency and integrity of the system would not be served by
denying institution of petition with particularly strong evidence on the merits); Samsung Elecs.
Co. v. Scramoge Tech., Ltd., IPR2022-00241 , Paper 10 (June 13, 2022) (Fintiv analysis
concludes that "very strong" evidence on the merits outweigh concurrent litigation involving
earlier scheduled trial date and significant overlap in proceedings).
7
 NHK Spring Co. v. Intri-Plex Techs., Inc., IPR2018-00752, Paper 8 (PTAB Sept. 12, 2018)
(precedential). This decision also based the denial of institution on Director discretion under 35
U.S.C. § 325(d).


                                                   5
      Case 1:22-cv-11378-RGS            Document 237-3          Filed 03/27/24      Page 7 of 10




use of PTAB's resources. NHK Spring, Paper 8 at 19- 20. Later, in 2020, the PTAB announced

the Fintiv factors, which the PTAB considers when a patent owner raises an argument for

discretionary denial under NHK Spring due to an earlier trial date. Fintiv, Paper 11 at 5-6. The

Fintiv factors focus on the interplay between IPRs and district court litigation. Through that

focus, the Fintiv factors seek to avoid duplicative efforts between the PTAB and federal district

courts. For example, Fintiv factor one asks whether the "comt" has granted a stay or if one may

be granted. Similarly, Fintiv factor two looks at the proximity of the "court" trial date.

Likewise, Fintiv factor three concerns the amount of investment in the parallel proceeding by the

"court" and the parties. Fintiv factors five and six refer to the same parallel proceeding

described in factor three.

        Although the Fintiv factors are directed to district court litigation and not ITC

proceedings, 8 the PTAB has, in the past, denied AIA reviews based on parallel ITC

investigations. 9 Impo1tant differences, however, distinguish ITC investigations from patent

invalidity trials in federal district courts. Unlike district comts, the ITC lacks authority to

invalidate a patent and its invalidity rulings are not binding on either the Office or a district

court. See Tandon Corp. v. U.S.lT.C., 831 F.2d 1017, 1019 (Fed. Cir. 1987). Therefore, an ITC

determination cannot conclusively resolve an assertion of patent invalidity, which instead

requires either district court litigation or a PTAB proceeding to obtain patent cancellation. Thus,

denying institution because of a parallel ITC investigation will not necessarily minimize




8
  Fintiv refers to ITC proceedings in discussing factor one. Fintiv, Paper 11 at 8- 9. Addressing
the situation where district comt litigation is stayed pending an ITC investigation, Fintiv states in
dicta that "it is difficult to maintain a district comt proceeding on patent claims determined to be
invalid at the ITC." Id. at 9.
9
  See, e.g., Philip Morris Prods. S.A. v. Rai Strategic Holdings, Inc., IPR2020-00919, Paper 9
(PTAB Nov. 16, 2020).


                                                   6
      Case 1:22-cv-11378-RGS            Document 237-3         Filed 03/27/24       Page 8 of 10




potential conflicts between PTAB proceedings and district court litigation. For the foregoing

reasons, the PTAB no longer discretionarily denies petitions based on applying Fintiv to a

parallel ITC proceeding. This memorandum memorializes that practice. The PTAB will not

discretionarily deny petitions based on applying Fintiv to a parallel ITC proceeding.



        Solera Stipulations

        Fintiv factor four looks at the overlap between the issues raised in the IPR petition and in

the parallel proceeding in order to evaluate "concerns of inefficiency and the possibility of

conflicting decisions." Fintiv, Paper 11 at 12. If the petition includes the same or substantially

the same claims, grounds, arguments, and evidence as presented in the parallel proceeding, this

fact has favored denial. Id. at 12. Conversely, if the petition includes materially different

grounds, arguments, and/or evidence than those presented in the district court, this fact has

tended to weigh against exercising discretion to deny institution. Id. at 12- 13.

       When a petitioner stipulates not to pursue in a parallel district comt proceeding the same

grounds as in the petition or any grounds that could have reasonably been raised in the petition, it

mitigates concerns of potentially conflicting decisions and duplicative efforts between the district

comt and the PTAB. See Sotera, Paper 12 at 18- 19. With such a stipulation, if an IPR or PGR

is instituted, the grounds the PTAB resolves will differ from those present in the parallel district

comt litigation. For these reasons, the PTAB will not discretionarily deny institution of an IPR

or PGR in view of parallel district court litigation where a petitioner stipulates not to pursue in a

parallel district comt proceeding the same grounds as in the petition or any grounds that could

have reasonably been raised in the petition. This clarification avoids inconsistent outcomes




                                                  7
      Case 1:22-cv-11378-RGS              Document 237-3       Filed 03/27/24       Page 9 of 10




between the PTAB and the district comt and allows the PTAB to review grounds that the parallel

district court litigation will not resolve.



        Trial Date

        Fintiv factor two considers the proximity of the comt's trial date to the Board's projected

statutory deadline for a final written decision. When applying this factor, the PTAB has taken

the "comts' trial schedules at face value absent some strong evidence to the contrary." 10 Thus,

the PTAB has generally weighed this factor in favor of exercising discretion to deny institution if

the trial date is scheduled before the projected statutory deadline for a final written decision.

        In response to the RFC, a number of commenters expressed concern with the use of trial

dates as a factor. 11 Stakeholders correctly noted that scheduled trial dates are umeliable and

often change. A court's scheduled trial date, therefore, is not by itself a good indicator of

whether the district court trial will occur before the statutory deadline for a final written decision.

       Accordingly, when analyzing the proximity of the comt's trial date under factor two of

Fintiv, when other relevant factors weigh against exercising discretion to deny institution or are

neutral, the proximity to trial should not alone outweigh all of those other factors. See In re

Genentech, Inc., 566 F.3d 1338, 1347 (Fed Cir. 2009). Parties may present evidence regarding

the most recent statistics on median time-to-trial for civil actions in the district comt in which the




10
   Apple Inc. v. Fintiv, Inc., IPR2020-00019, Paper 15 at 13 (May 13, 2020) (informative)
(applying the Fintiv factors articulated in the precedential Fintiv decision).
11
   See USPTO Executive Summcny ofPublic Views on Discretiona,y Institution ofAJA
Proceedings (Jan. 2021) (available at https://www.uspto.gov/sites/default/files/documents/
USPTOExecutiveSummaryofPublicViewsonDiscretionarylnstitutiononAIAProceedingsJanuary2
021.pdt).


                                                  8
     Case 1:22-cv-11378-RGS            Document 237-3         Filed 03/27/24      Page 10 of 10




parallel litigation resides 12 for the PTAB's consideration. Where the parties rely on time-to-trial

statistics, the PTAB will also consider additional supporting factors such as the number of cases

before the judge in the parallel litigation and the speed and availability of other case dispositions.

See id; In re Google LLC, No. 2021-178, 2021 WL 5292267 at *3 (Fed. Cir. 2021).

                                             Conclusion

In summary, the PTAB will not deny institution of an IPR or PGR under Fintiv (i) when a

petition presents compelling evidence of unpatentability; (ii) when a request for denial under

Fintiv is based on a parallel ITC proceeding; or (iii) where a petitioner stipulates not to pursue in

a parallel district comt proceeding the same grounds as in the petition or any grounds that could

have reasonably been raised in the petition. Additionally, when the PTAB is applying Fintiv

factor two, the PTAB will consider the speed with which the district comt case may come to trial

and be resolved. The PTAB will weigh this factor against exercising discretion to deny

institution under Fintiv if the median time-to-trial is around the same time or after the projected

statutory deadline for the PTAB's final written decision. That said, even if the PTAB does not

deny institution under Fintiv, it retains the right to deny institution for other reasons under 35

U.S.C. §§ 314(a), 324(a), and 325(d). For example, the PTAB may deny institution if other

pertinent circumstances are present, such as abuse of process by a petitioner.

       This interim guidance applies to all proceedings pending before the Office. This interim

guidance will remain in place until fmther notice. The Office expects to replace this interim

guidance with rules after it has completed formal rulemaking.




12
  The most recent statistics are available at: https://www.uscourts.gov/statistics/table/na/federal-
court-management-statistics/2022/03/31-1.

                                                  9
